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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )              CASE NO. 8:09CR29
                                            )
             Plaintiff,                     )
                                            )
             vs.                            )                MEMORANDUM
                                            )                 AND ORDER
DENNIS WIESE,                               )
                                            )
             Defendant.                     )

      This matter is before the Court on the motion by the Defendant, Dennis Wiese, to

vacate, set aside, or correct his sentence pursuant to 28 U.S.C. § 2255 (“§ 2255 motion”)

(Filing No. 84). The motion includes a request to file his motion out of time. Because

Wiese's request for leave to file his motion out of time is denied, the Court has not

considered the motion on its merits.1

                              FACTUAL BACKGROUND

      Wiese was charged in a two-count Indictment with: conspiracy to attempt to

manufacture and manufacture 50 grams or more of actual methamphetamine (Count I);

and possession of pseudoephedrine with intent to manufacture methamphetamine (Count

II). Wiese pleaded guilty to Count I, and Count II was dismissed. The drug quantity

alleged in Count I triggered a 10-year mandatory minimum sentence of imprisonment. 21

U.S.C. § 841(b)(1)(A). In completing the Petition to Enter a Plea of Guilty, Wiese stated

that he was guilty of Count I because he “purchased pseudoephedrine to give to my

codefendant who made methamphetamine with it.” (Filing No. 60, ¶ 45.) At his change




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        The Court notes, however, that Wiese's argument regarding the equitable tolling
doctrine constitutes his sole argument on the merits. Therefore, for the reasons discussed
below, the motion would not survive initial review. Rule 4(b) of the Rules Governing
Section 2255 Proceedings for the United States District Courts.
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of plea hearing, he agreed that the government would have presented the following

evidence if he had gone to trial:

       [D]uring the time frame of the conspiracy in Nebraska, the defendant was
       involved in purchasing pseudoephedrine pills. He then provided those to co-
       defendant Mr. Johnson who would then manufacture methamphetamine and
       in turn he would then get the finished product back. During this time frame,
       it would have been at least 50 grams of actual methamphetamine.

(Filing No. 68, at 19-20.)

       The Presentence Investigation Report (“PSR”) notes that in a post-arrest statement,

Wiese said he had been buying pills for his codefendant for 7 months, and he also

identified several people who would buy pills for him to give to the codefendant. The PSR

also stated that Wiese and other individuals provided the codefendant with 168.96 grams

(168,960 milligrams) of pseudoephedrine, which equals 1,689.6 kilograms of marijuana.

Therefore, because the quantity was at least 1,000 but less than 3,000 kilograms of

marijuana, base offense level 32 was applied. An amount of 1,000 kilograms or more of

marijuana also triggers the 10-year mandatory minimum under § 841(b)(1)(A).         Wiese

was sentenced to 121 months imprisonment, and Judgment was entered on November 19,

2009. The Defendant did not file a direct appeal. He filed a motion to file his § 2255

motion out of time with the Eighth Circuit Court of Appeals. The Eighth Circuit denied his

motion without prejudice, noting that he had not yet filed a § 2255 motion in this Court and

therefore he did not need authorization from the Eighth Circuit to file a motion. Under 28

U.S.C. § 2255, a defendant has one year to file a § 2255 motion from “the date on which

the judgment of conviction becomes final.” In this case, the conviction became final on

November 27, 2009, the last day Wiese could have filed a notice of appeal. Murray v.




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United States, 313 Fed. Appx. 924, at **1 (8th Cir. Mar. 10, 2009). Therefore, he had one

year from that date to file a timely § 2255 motion.

                                      DISCUSSION

       Wiese argues that the equitable tolling doctrine should apply in his case and excuse

his late filing of the § 2255 motion because he is actually innocent of the crime charged in

Count I to which he pleaded guilty. More specifically, Wiese argues that he, his attorney,

the prosecutor, and the undersigned Judge failed to understand that the drug quantity for

which he should have been held responsible totaled less than the amount alleged in the

conspiracy and that was required to trigger the 10-year mandatory minimum term of

imprisonment under 21 U.S.C. § 841(b)(1)(A). Wiese contends the amount charged in

Count I, 50 grams or more of actual methamphetamine, was required to be established by

a single act of manufacturing. Because the Court used an aggregate amount of quantities

from several acts, Wiese argues that he unknowingly entered his guilty plea. Wiese bases

his argument primarily on United States v. Winston, 37 F.3d 235 (6th Cir. 1994), in which

the Sixth Circuit Court of Appeals held that § 841(b)(1)(A), involving at least 50 grams of

cocaine base, did not apply because the conspiracy involved only 23 grams found in a

parking lot but not 37 grams found at the defendant's residence. Id. at 241. However,

Wiese did not acknowledge that Winston was distinguished by the Sixth Circuit because

the 37 grams at Winston's residence were not a part of the conspiracy. The Sixth Circuit

declined to apply the reasoning used in Winston to a situation in which a defendant was

involved in a single conspiracy involving the same coconspirators on numerous occasions.

United States v. Pruitt, 156 F.3d 638, 644 (6th Cir. 1998).




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       Wiese acknowledged that Eighth Circuit case law indicates that under the

sentencing guidelines quantities from multiple drug offenses may be combined to

determine the statutory minimum drug quantity, and quantities from dismissed counts may

be included as relevant conduct. (Filing No. 84, at 2.) See, e.g., United States v. Halter,

217 F.3d 551, 554 & nn. 3 & 4 (8th Cir. 2000).

       The district court applied the correct mandatory minimum and base offense level

according to the sentencing guidelines and the law. Even under Winston, Wiese's

argument must fail because his case involved one conspiracy, the same codefendant, and

multiple occasions. Therefore, Wiese's claims of actual innocence and an unknowing

guilty plea are meritless. Because his claim of actual innocence fails, the equitable tolling

doctrine does not apply. Mandacina v. United States, 328 F3d 995, 1003 (8th Cir. 2003).

                                     CONCLUSION

       Wiese's request to file his motion out of time under the equitable tolling doctrine is

denied because he has not shown actual innocence of the crime to which he pleaded

guilty. The Court need not reach the merits for initial review purposes.

       IT IS ORDERED:

       1.     The Defendant's request to file his § 2255 motion out of time (Filing No. 84)
              is denied;

       2.     A separate Judgment will be issued denying the § 2255 motion; and

       3.     The Clerk is directed to mail a copy of this Memorandum and Order to the
              Defendant at his last known address.

       DATED this 22nd day of August, 2011.

                                                  BY THE COURT:

                                                  s/Laurie Smith Camp
                                                  United States District Judge

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